Case 2:19-cv-03243-RSWL-MAA Document 1-1 Filed 04/24/19 Page 1 of 19 Page ID #:4




                    “Exhibit (A)”
Case 2:19-cv-03243-RSWL-MAA Document 1-1 Filed 04/24/19 Page 2 of 19 Page ID #:5

                                                                             Service of Process
                                                                             Transmittal
                                                                             03/29/2019
                                                                             CT Log Number 535198993
     TO:     Matt Clark, VP Legal/Compliance & Gen Csl
             Collecto, Inc.
             Assinippi Office Park, 700 Longwater Drive
             Norwell, MA 02061-

     RE:     Process Served in California

     FOR:    Collecto, Inc. (Domestic State: MA)




     ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

     TITLE OF ACTION:                  DAVID VACCARO, PLTF vs. COLLECTO INC., ETC., ET AL., DFTS.
     DOCUMENT(S) SERVED:               Summons, Complaint, Cover Sheet, Attachment(s)
     COURT/AGENCY:                     Los Angeles County - Superior Court - Hill Street, CA
                                       Case # 19STLC03058
     NATURE OF ACTION:                 Complaint for Violation of Rosenthal Fair Debt Collection Practices Act
     ON WHOM PROCESS WAS SERVED:       C T Corporation System, Los Angeles, CA
     DATE AND HOUR OF SERVICE:         By Process Server on 03/29/2019 at 14:45
     JURISDICTION SERVED :             California
     APPEARANCE OR ANSWER DUE:         Within You have 30 CALENDAR DAYS after this summons and legal papers are served
                                       on you
     ATTORNEY(S) / SENDER(S):          Todd M. Friedman
                                       Law Offices of Todd M. Friedman, P.C.
                                       21550 Oxnard St., Ste 780
                                       Woodland Hills, CA 91367
                                       323-306-4234
     ACTION ITEMS:                     CT has retained the current log, Retain Date: 03/30/2019, Expected Purge Date:
                                       04/04/2019

                                       Image SOP

                                       Email Notification, Matt Clark Matthew.Clark@EOS-USA.com

                                       Email Notification, Peter Garland peter.garland@eos-cca.com
                                       Email Notification, KARISHMA BOODRAM karishma.boodram@eos-usa.com

                                       Email Notification, JENNIFER TITMUS jennifer.titmus@eos-usa.com

     SIGNED:                           C T Corporation System
     ADDRESS:                          818 West Seventh Street
                                       Los Angeles, CA 90017
     TELEPHONE:                        213-337-4615




                                                                             Page 1 of 1 / JN
                                                                             Information displayed on this transmittal is for CT
                                                                             Corporation's record keeping purposes only and is provided to
                                                                             the recipient for quick reference. This information does not
                                                                             constitute a legal opinion as to the nature of action, the
                                                                             amount of damages, the answer date, or any information
                                                                             contained in the documents themselves. Recipient is
                                                                             responsible for interpreting said documents and for taking
                                                                             appropriate action. Signatures on certified mail receipts
                                                                             confirm receipt of package only, not contents.
                                                                            S-'Til.’'
             Case 2:19-cv-03243-RSWL-MAA Document 1-1 Filed 04/24/19 Page 3 of 19 Page ID #:6
eiocttoi'icalty FILED by Superior Court of California, Couiily of Los Angeles on                         R. Conor. Executive Officer/CIcik of Court, by 0. Diaz,Deputy Clerk



                                                                                                                                                                       SUM-100
                                                       SUMMONS                                                                                 FOR coonruse OMLr
                                                                                                                                        130LO f>APji USO 0£ L« CORD;;
                                                   (CITAdON JUDtClAL)
                NOTICE TO DEFENDANT:
                  WSO AL DEMANDADO):
                COLLECTO INC dba EOS CCA; DOES l-IO inchi.sive,

                YOU ARE BEING SUED BY PIJUNTIFF:
                (LO ESTA DEMANDANDO EL DEMANDANTE):
                DAVfD VACCARO,


                 NOTICE! You have been sued. The court may decide ogalnst you without your being heard unless you respond v/ilhin 30 days. Read the information
                 below.
                    You have 3D CALENDAR DAYS after this summons and legal papers are sets-od on you lo file a written response at this court and have a copy
                 served on the plaintiff. A letter or phone esfl will not protect you. Yrjur written response must be in proper legal form if you v/ant the court to hear your
                 case. There may to a court form that you can use for your response. You can find these couit forms and more information ot the Califemla Courts
                 Online Soff-Hclp Center ly/vuv.cou/h'nh.ca.gov/selfhdp). your county law library, or the courthouse nearest you. If you cannot pay the filing fee, ask
                 the court derk ter a tec waiver tern if you do not .TIo your reaponso on dmo. you may lose fho case by dofaull, and your wages, money, and properly
                 may ba taken without further warning from if a court.
                     There are other legal reciuiremenis You may want to cell on attorney right ov/ay. If you do not knew an attorney, you may wont to call on attorney
                 referral service. If you cannot afford an attorney, you may be eiigibie for free legal ser/ices from o nonproW lagal services program. You can locate
                 these nonprofit groups at tite Caliicrnia Logai Services Web sits iMv.v.lav,f!6lpcalifom!o org). the Cafilomte Courts Online Seif-Holp Center
                 {wrt'w.couffir'o.ca gov/ceifttefp), or by contaciing yoiir locO' court or cctrtuy bar assodatior. NOTE: Tho court has a statutory Hen for waived foos and
                costs on any oonlomont or arbitration award of $10,000 or iraio in a cMl case. Tho court’s lien must bo paid before tho court will dismiss tho case.
                iA VISOI Lo tian demandado. Si no raepenria dentro do 30 dios, la carte puede deckiir en su contra tin escuchBr 3U trarsidn. Lea la intormacldr. e
                ccntim/aoion.
                    Tieno 30 OfAS DE CALBNDARIO dsspues <Je qua le «n.T*;‘guen eala atadon y papelet /agates pom presenior una respuesia poreserfro en osto
                co/te y .‘jacergue go entreguo una cop\a at demandante. Ura caila o una ilamada telefdnica no to protsgen. Su reepuesta pot ecenfo tfene qua eslar
                on founato legal conacto si dcsoa qua proecoen cu oaco on .’a corto. Ee poeible quo haya un fotmiilorio quo UGted puoda usar pa/B su respuasra.
                Puoda onoontmr ostos formulanos da la cono / nids infamaclan en el Cenim de Ayuda do let Cortoc de Celifomio (v/Mw.suixrto.co.gov). on la
                bibriatoca do loyea de su eondedo o en !b corte quo lo quedo ni6s eorea. Si no puoda page' la suo(a de pnesentacion. pida el socrelario de la eerte
                que le de un formu/arfo de sxancion de pago do cuotes. Si no presanta su mspuesta e tiempo. puada perder el caso pot Incumpllmlento y fa cone le
                podri quitar zu sueldo. d-.nero y bionos sin tr.is advenencla.
                   Hay olros reqiiisilos legales. es retxvnenc/eble que Heme a un abogedo £Tme<//ofamenfB. Sr no Conoco a t;/i abogecio. pueile Hamer a lui servicio de
                remisidn a abogerlos. Si no puerta pegar a un abogado, es posible que cuwpla con los requisitos para oblener services logales graluHos de un
                pmgrema de ssn'icios legeie.y sin fines do lur.io Pueda er.cunlrer estos gmpos sin fines tie luc:o en el siiio n eb da California Legal Se/vlces,
                (V/ww.lawheipcalifomia.orc}, en e! Canfro da Ayuda de las Codas do California, fwww.sucorte.ca.gov) o poniindose an contacio can la code o el
                colagio da abogatfos /ocb'os. AVi'SO: Parley, la corte dene dareebo a loclamai laa cvolos ylos costoo oxentospar '’mponef uii gravamen sobre
                cnsiqnier lecupemcu'ut de $10,000 6 m^s de valor redhida rnedieitle un .icuenio a una cancesidn do advlrajo en an caso de deracho civH. Ttene que
                pagar el gravarr.KJr? de la cone antes de que la code pueda ilssechai el case.

               I he narne and address of the court is.                                                                    rjuiS Ntaiee*.
                                                                                                                          riVbn&'Q ccjC:iiey
               (El nombre y duecdon de le code es}: SliUllcy Mosk CourlhouSC
                                                                                                                                1 9STI 00305S
                111 North Hill Streei
                Los Angeles, CA 900! 2
               The name, address, and telephone number of ploinlifr.i Attorney, or plaintiff without an attorney, is:
               (El rwrrjbre. la rlirecddn y ef rjunT»?/D c/e ielefuno del elh^gedo del c/e/rtsndanfe. o del den^andanie que no tiene ehogatfo. es):
               'lodd JvT. Friedman, 21550 Oxnard Si., Suite                           Woodland Hills, CA. 9I367, 323-30r>-4234
                                                                                             Sherri R. Carter E>;ecutive Officer/ Clerk of Court
               DATE:                                                                          Cleric, by                                . Deputy
               ,Fecha; 03/28/2019                                                             (SecreiBrio)       Diana Diaz              (Adjunto)
              (For proof of service of this summons, use Prexif of Sor.'ica of Summons (form PO-S-010).)
              (Para prueba de eniioga de esla afa£ro/i use d formularh Proof of Service of Summons, (POS-OIO)).
                                                      NOTICE TO THE PERSON SERVED: You are served
                                                      1. ft as an individual defendant.
                                                      2. I I as tho person sued under the fictitious name of fspeerVy);


                                                      3 LXJ on behalf of/spec/iV.}' COLLECTOiNC.dbaEOSCCA

                                                           under I.JK.} CCP ■cie.10 (cerporation)               I---- } CCP 416.60 (minor)
                                                                 i    I CCP 416.20 {defunct corporation)        I     I CCP 416.70 (conservaiee)
                                                                 I    i CCP 416,40 (association or partnership) f I CCP 410.90 (authorized person)

                                                         V___       I    t other (specUy).
                                                                  by personal delivery on (da/e):                     — i ^                                               P«qa 1 af1

               Furm A[la;>tBd (w tUialiilwy Ub»
                                                                                      SUMMONS                                                     Cocft a CM1 Pniwwe 55 xi2 ao.
                 AiCdii Ccu^«i cjn:«r4:>                                                                                                                        V«B«V,S0UrtJS3.d0.ff3V
                 sui.vtco [hf.M .ivir t.2c<t3)                                                                                                              A.-nfikam LsgaiN*', ir*:.
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            Case 2:19-cv-03243-RSWL-MAA Document 1-1 Filed 04/24/19 Page 4 of 19 Page ID #:7
Electronically FILEC )y Superior Court ol California. County of Los Artgeles on 03/28/2019 08:34 AM Sherri R. Carter, Executive Officer/Clerk of Court, by D. Dioz,Deputy Cle M.
                                                                                        19STLC03058
                                         Assigned for all purposes to: Stanley Mosk Courthouse, Judicial Officer: Wendy Chang




                I     Todd M. Friedman (216752)
                      Adrian R. Bacon (280332)
                2
                      Law Offices of Todd M. Friedman, P.C.
                3     21550 Oxnard St., Ste 780
                      Woodland Hills, CA 91367
                A     Phone: 323-306-4234
                5
                      Fax: 866-633-0228
                      tfriedman@toddflaw.com
                6     abacon@toddt1aw.com
                      Attorneys for Plaintiff
                7

                8                               SUPERIOR COURT OF THE STATE OF CALIFORNIA
                                                      FOR THE COUNTY OF LOS ANGELES
                9                                          LIMITED JURISDICTION
               10
                                                                                               ) Case No. 1 9STL.0 0 30 5 8
                                                                                               )
                      DAVID VACCARO,                                                           ) COMPLAINT FOR
               I2                                          )
                                                                1. Violation of Rosenthal Fair Debt
                                                         Plaintiff.
                                                           )
               I3
                                                           )       Collection Practices Act
               I4     -vs-                                 )    2.  Violation of Fair Debt Collection
                                                           )        Practices Act
               I5     COLLECTO INC. dba EOS CCA; DOES l-IO)
                      inclusive,                           ) (Amount not to exceed $10,000)
               16
                                                         , )
               17                      Defendant.          ) Jury Trial Demanded
                                                           )
               18

               19

               20                                                              I. INTRODUCTION

               21                 I.     This is an action for damages brought by Plaintiff DAVID VACCARO for

               22     Defendant's violations of the Rosenthal Fair Debt Collection Practices Act, Cal Civ Code

               23
                      §1788, el secf. (hereinalter “RFDCPA") and the Fair Debt Collection Practices Act, 15 U.S.C.

               24
                      §1692, el seq. (hereinafter "FDCPA”), both of which prohibit debt collectors from engaging in

               25
                      abusive, deceptive, and unfair practices.

               26
                                                                                      n. PARTIES
                                  2.          Plaintiff. DAVID VACCARO C‘Plainti!T’), is a natural person residing in Los
               27
                      Angeles County in the state of California, and is a “consumer” as defined by the FDCPA, 15
               28
                      U.S.C. § 1692a(3) and is a “debtor” as defined by Cal Civ Code § 1788.2(h).



                                                                                         Complaint - 1
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   I          3.      At all relevant times herein, Defendant. COLLECTO TNC. dba EOS CCA
  2    (“Defendant"), was a company engaged, by use of the mails and telephone, in the business of

       collecting a debt from Plaintiff which qualifies as a “debt," as defined by 15 U.S.C. §1692a(5),
  4    and a “consumer debt." as defined by Ca! Civ Code §1788.2(0- Defendant regularly attempts
  5    to collect debts alleged to be due another, and therefore is a “debt collector” as defined by the
  6    FDCPA, 15 U.S.C. §1692a(6), and RFDCPA, Cal Civ Code § 1788.2(c).
  7                                      III. FACTUAL ALLEGATIONS
  8           4.      At various and multiple times prior to the filing of the instant complaint,
  9    including within the one year preceding the filing of this complaint, Defendant contacted

 lU    Plaintiff regarding an alleged debt.

 II           5.      Defendant contacted Plaintiff in an attempt to collect on an alleged debt that

 12    Plaintiff in fact does not owe.

 1.1          6.      On or around March of 2018 and May of 2018, Plaintiff received an invoice

 14    from Defendant. Plaintiff is informed, upon valid information and belief, that this debt does

 15    not belong to him.

 16           7.      Plaintiff informed Defendant on multiple occasions to stop calling and sending

 17    him mail, however. Defendant continues to mail invoices to Defendant.

 18           8.      Defendant's conduct violated the FDCPA and RFDCPA in multiple ways,

 19    including but not limited to:

 20                   a) Falsely representing the character, amount, or legal status of Plaintiffs
                         debl(§ l692e(2)(A));
 21
                      b) Using false representations and deceptive practices in connection with
 22
                         collection of an alleged debt from Plaintiff (§ I692e(l0));
 23
                      c) Using unfair or unconscionable means against Plaintiff in connection
 24                      with an attempt to collect a debt (§ 16920;
 25
                      d) Collecting an amount from Plaintiff that is not expressly authorized by
 26                      the agreement creating the debt (§ 1692f(l)):

 27                   e) Collecting an amount from Plaintiff that is not permitted by law (§
                         i692f(l)).
 28




                                                  Comptnini - 2
Case 2:19-cv-03243-RSWL-MAA Document 1-1 Filed 04/24/19 Page 6 of 19 Page ID #:9




  I           9.      As a result of the above violations of the l-'DCPA and RFDCPA, Plaintiff
  2    suffered and    continue to suffer injury to           Plaintiffs   feelings,   personal   humiliation,
  3    embarrassment, mental anguish and emotional distress, and Defendant is liable to Plaintiff for
  4    Plainlifl^s actual damages, statutory damages, and costs and attorney’s fees.
  5                             COUNT U VIOLATfON OF ROSENTHAL
                              FAIR DEBT COLLECTION PRACTICES ACT
  6
               10.    Plaintiff reincorporalcs by reference all of the preceding paragraphs.
  7
               II.    To the extent that Defendant’s actions, counted above, violated the RFDCPA,
  8
       those actions were done knowingly and willfully.
  9
                                           PRAYER FOR RELIEF
 10
              WHEREFORE, Plaintiff respectfully prays that judgment be entered against Defendant

       for the following:
 12
                      A.       Actual damages;
 13                   B.       Statutory damages for willful and negligent violations;
                      c.       Costs and reasonable attorney’s fees; and
 14                   D.       For such other and further relief as may be just and proper.

 15
                                 COUNT II: VIOLATION OF FAIR DEBT
 16
                                   COLLECTION PRACTICES ACT
 17            12.    Plaintiff reincorporates by reference all of the preceding paragraphs.

 18                                        PRAYER FOR RELIEF

 19           WHEREFORE, Plaintiff respectfully prays that judgment be entered against Defendant

 20    for the following:

 21
                      A.       Actual damages;
                      B.       Statutory damages;
 22                   C.       Costs and reasonable attorney’s fees; and,
                      D.       For such other and further relief as may be just and proper.
 23.

 24
                            PLAINTIFF HEREBY REQUESTS A TRIAL BY JURY
 25
                      Respectfully submitted this 28‘^ of March, 2019.
 26

 27                                            By:
                                                       Todd M. Friedman, Esq.
 28                                                    Law Offices of Todd M. Friedman, P.C.
                                                       Attorney for Plaintiff



                                                     Complaini - 3
           Case 2:19-cv-03243-RSWL-MAA Document 1-1 Filed 04/24/19 Page 7 of 19 Page ID #:10
Electronically FILED by Superior Court of California. County of Los Angeles on 03i28/20^%9|rgC{)9(^^rrT R, Carter, Executive Officer/Clerk of Court, by D. Diaz,Deputy Clerk


                                                                                                                                                                                        CM-010
                 ATTORNEY OR PARTY' WITHOUT A1TORNF.Y l\ami SiVt tkir n/inOtr. tnd                                                                            FOR COURr USE ONLY
                   Todd M. Friedman, Fsp. .SI.VN 216752
                   1-aw Ofi'icc.s ol'Todd M. !*riwini:in
                   215.50 Oxnard Si.. Stn'ic 780
                   Woodland Hills. CA 91.^67
                      TELEPHONE NO.- 3 23-3()6-42.t4         FAX NO 866-633-0228
                ATTuHNbYFOR(worm-r PiaintjlT. Davlcl Vaccaro
               SUPERIOR COURT OF CAUFORN!A,COLIkfTY OF LoS AnS^eleS
                    STREETAODHES.S; 1) | North Hill Street
                   (.WILING-ADDRESS 111 North Hill Slreel
                   ar. AHDZJPcocE; Los Angeles, CA 90012
                       BRANCHNAfAEL Stanicy MosK Courthouse
                   CASE NAME:
                 David Vaccaro v. Collecto Inc. dba EOS CCA
                                                                                                                                          CASE NUMBER;
                   CIVIL CASE COVER SHEET                Complex                                        Case Designation
                r I Unlimited    I / I Limited
                                                                                   I      1 Counter            I     I Joinder
                                                                                                                                             1 9STL 0 0 3Q5S
                              (Amount                     (Amount
                                                                                                                                          JUDGE.
                              demanded                    demanded is              Filed with first appearance by defendant
                              exceeds S25.000)            525.000 or less)             (Cal. Rules of Court, rule 3.402)                    OEPT-

                                                 items 7-6 below must be completed (see instructions on page 2).
               1. Check one box below for the case type that bs.st describes this case:
                   Auto Tort                                    Contract                              Provisionally Complex Civil Litigation
                     - Auto (22)                                I  I Broach of contractAvarranty (06)      Rules of Court, rules 3.400-3.403)
                  I    I Uninsured mohjrist (46)                r™.! Rule 3.740 collections (09)      f  I Antitrust/Trade regulation (03)
                   Other PJ/PD/WO (Personal Injury/Properfy
                   OamageAiVrongfiil Death) Tort
                   I___ j Asbestos (04)
                                                                               B
                                                                               ___
                                                                                          other collections (09)
                                                                                          Insurance coverage (18)
                                                                      L_ I other contract (37)
                                                                                                                                  1
                                                                                                                                  !
                                                                                                                                  I
                                                                                                                                      ~l Construction defect (10)
                                                                                                                                       I Mass tort (^0)
                                                                                                                                       I Securities litigation (28)
                   I           I Product liability (241                Real Property                                              I    I Enwronmenlal/Toxic tort (30)
                   I      I Medical malpractice (45)                  f   I Eminent domain/inverse                                i., I Insurance coverage claims arising from the
                   [Hj Other PI/PD/WD (23)                            ___ condemnation (14)                                             above listed provisionally complex cose
                                                                      I "1 Wrongful eviction (33)                                       typos (41)
                    Non-PI/PDAfVO (Olhei) Tort
                                                                                                                                  Enforcement of Judgment
                   j----- Business tort/unfair business practice (07) I   1 Other real property (26)
                   I     I Civil fights (08)                          Ur^wFul Detainer                                            I    I Enforcement of judgment (20)
                   I          i Oefamalion (13)                                l~ -I Commerdal (31)                               Miscellaneous Civil Complaint
                   r          I Fraud (16)                                     1   ' 1 Residential (32)                           CH] RICO (27)
                   n ~'l Intellectual property (19)                            I       -I D,-ugs (33)                             I    1 Other complaint (nos specified above) (42)
                   I          I Professional negligence (23)                   Judicial Review                                    Miscellaneous Civil Petition
                   CZ!  Other non-P]/PD/WD ton (35)                            I   I Asset forfeiture (05)                        I   I Partnership and corporate goverr*oncs (21)
                   Employment                                                  I - - I Pet'rtion re: arbitration award (11)       |   |I Other petition (not zpeafied above) (43)
                   I I Wrongful termination (36)                               r        I Writ of mandate (02)
                   t          I Other employment (15)                          I       I Other ludici'al review (39)_____________
               2. This case 1      i is  1 / I is not     complex under rule 3.400 of the California Rules of Court. If the case is complex, mark the
                  factors requiring exceptional judicial management;
                       a. I      I Large number of separately represented parties                       d. I       i Large number of witnesses
                       b. I      i Extensive motion practice raising difficult or novel                 e. I       I Coordination with related actions pending in one or more courts
                          ___       issues that will be time-consuming lo resolve                                    in other counties, states, or counfries, or in a federal court
                       c. f      I Substantial amount of documentary evidence                           f. I       I Substantial postjudgment judicial supervision

              3.       Remedies sought (check all tnai apply).                     mcnetary         b.l Zl nonmonetary; declaratory or injuncHive relief                   c- CZ] punitive
              4.       Number of causes of action (s^pecify)' 2                                                                                       /
              5. This case I      I is  ! / i is not  a class action suit.
              6. If there are any known lelaleci cases, file and serve a notice of related case. (Yoi/ma ' use form CM‘015.)

              Date: iMarch 28,2019
              Todd KirPnedirian
                                                  (TYPE OR PRWr NAfJHi
                                                                                                                   ►             fSIGNATURE CF PARTY OR ATTOKNEY FOR PARTY)
                                                                  ■.........                       NOTICE                   f                 7           ^
                o Plaintiff must file this cover sheet with the first paper filed in the action or protreeding {^ceplimall claims cases or cases filed
                  under the Prebate Code. Family Code, or Welfare and Institutions Code). (Cal. Rules OKCoyrl. rule 3.220.) Failure to tile may result
                  in sanctions.
                • File Ihis cover sheet in add lion lo any covet sheet lequired by local court rule.
                • If this case is complex under rule 3.400 et seq. of the California Rules of Court, you must serve a copy of this cover sheet on all
                  other parties to the action or proceeding.
                • Unless this is a collections case under rule 3.740 or a complex case, this cover sheet will be 'jsed for statistical purposes onl^'. ^ ^

              Form Adopted lOr Mandrofy Use                                                                                                  Cat Rules of Com. nXes 230,3.330.3 ADOO -un, 3.740:
                Jiisisai CouAdi oT CaMb'n.a                                    CIVIL CASE COVER SHEET                                               Cal             JudicialAdnans.'ialioastd.3.10
                CM4JI0 (Rcy. JUty 1. 3037]                                                                                                                                    iwwr.aMxlinfoca.cov
                                                                                                                                                                          AnwtKAn LepalNet. Inc.
                                                                                                                                                                          'irtvw.FamilVortirun'-eofn
Case 2:19-cv-03243-RSWL-MAA Document 1-1 Filed 04/24/19 Page 8 of 19 Page ID #:11



                                                                                                                                        CM-010
                                    INSTRUCTIONS ON HOW TO COMPLETE THE COVER SHEET
  To Plaintiffs and Others Filing First Papers, if you aro tiling a first paper (for example, a complaint) in a civil case, you must
  complete and file, along v.'ith your first paper, the Civil Case Cover Sheet contained on page 1. This information will be used to compile
  statistics about the types and numbers of cases filed. You must complete items 1 through 6 on the sheet. In item 1. you must check
  one box for the case type that best describes the case. If the case fits both a general and a more specific type of case listed in item 1,
  check the more specific one. If the case has multiple causes of action, check the box that best indicates the primary cause of action.
  To assist you in completing the sheet, examples of the cases that belong under each case type in item 1 are provided below. A cover
  sheet must be filed only witJi your initial paper. Failure to file a cover sheet with the first paper filed in a civil case may subject a party,
  its counsel, or both to sanctions under rules 2.30 and 3.220 of the California Rules of Court.
 To Parties In Rule 3.740 Collections Cases. A “collections case" under rule 3.740 is defined as an action for recovery of money
 owed in a sum stated to ba certain that is not more than $25,000, exclusive of interest and attorney's fees, aiising from a transaction in
 which property, services, or money was acquired on credit. A collections case does not include an action seeking the following' (1) tort
 damages, (2) punitive damages. (3) recovery of real property. (4) recovery of personal property, or (5) a prejudgment writ of
 attachment. The identification      a case as a rule 3.740 collections case on this form means that it wll be exempt from the general
 time-for-service requirements and case management rules, unless a defendant files a responsive pleading. A rule 3.740 collections
 case will be subject to the requirements for service and obtaining a judgment in rule 3.740.
 To Parties in Complex Cases. In complex cases only, parties must also use the Civil Case Cover Sheet to designate whether the
 case is complex. If a plaintiff believes the case is coniplex under rule 3.400 of the California Rules of Court, this must be indicated by
 completing the appropriate boxes in items 1 and 2. If a plaintiff designates a case as complex, the cover sheet must be served with the
 complaint on all parties to the setion. A defendant may file and serve no later than the time of its first appearance a joinder in the
 plaintiffs designation, a counler-dosignalion that the case is not complex, or, if the plaintiff has made no designation, a designation that
 the case is complex.
                                                              CASE TYPES AND EXAMPLES
 Auto Tort                                       Contract                                             Provisionally Complex Civil Litigation (Cal.
      Auto {22)-PorsonaI Injury/Piopcrty              Broach of Ccntroct/Warranty (06)                Rules of Court Rules 3.400-3.403)
            DamagoiV/rongful Death                          Breach of Rentel/Lesse                         AntitRist/Tradc Regulation (03)
      Uninsured Motorist (46) (it the                            Contract (not unlawful detainer           Construction Defect (10)
            case involves an uninsured                               or wrongful eviction)                 Claims Involving Mass Tort (40)
           motorist claim subject to                        ComractWarranty Breadi-Solier                  Securities Litigation (28)
           arbitration, check this item                          Plaintiff (rjof fraud or negiigcnce)      Envlronmental/Toxic Tort (30)
           instead of Auto)                                 Negligenf Breach of Contract/                  Insurance Coverage Claims
                                                                 Warranty                                       (ehsing from provisionally complex
 Other PI/PDfWO (Personal Injury/
 Property Damage/Wrongfiil Death)                          Other Broach of ContractWarranty                    case type listed above) (41)
 Tort                                                 Colicctions (e.g., money owed, open              Enforcement of Judgment
      Asbestos (04)                                        book accounts) (09)                             Enfoiceiiietit of Judgmoril (20)
                                                           Collection Cese-Seller Plaintiff                    Abstract of Judgment (Out of
          Asbestos Property Damago
                                                           Other Promissory Note/Collections                         County)
           Asbestos PersOTai Injury'
                                                                 Case                                          Confession of Judgment (non-
                 Wrongful Death
                                                      Insurance Coverage (not provisionally                          domestic relations)
      Product Liability (not asbestos or
           toxic/environ.mentai) (24)                      complex) (18)                                       Sister Slate Judgment
      Medical Malpractice (45)                             Auto Subrogation                                    Administrative Agency Award
          Medical Malpractice-                             Other Coverage                                          (not unpaid taxes)
                                                      Other Contract (37)                                      Pelition/CerSficetion of Entry of
                 Physicians S Surgeons
                                                                                                                   Judgment on Unpaid Taxes
          Other Professional Health Caro                   Contractual Fraud
                                                           Other Contract Dispute                              Other Enforcement of Judgment
                 Malpractice                                                                                         Cose
      Other PI/PD/WD (23)                        Real Property
                                                                                                       Miscellaneous Civil Complaint
          Premises Liability (e.g.. slip              Eriiinetil Domaiiv'lnvers©
                                                           Condemnation fl4)                               RICO (27)
                 and fall)
                                                                                                           Other ComitHainl (not specified
          Intentional Bodily ln|ury/PD/WD            y«'ro''gful Eviction (33)                                 above) (42)
                 (e.g.. assault, vandalism)          Olher Real Property (e.g., quiet title) (26)              Deciaralory Relief Only
          Inlenlbnai Infliction of                         Writ of Possession of Real .“roperty                Injunctive Relief Only (non­
                 Emcticnal Distress                        l.lurtguge Fuiuclosuro                                    harassment)
          Negligent Infliction of                          Quiet Title                                         Mechanics Lien
                 Emotional Distress                        Other Real Property (not eminent                    Other Commercial Complaint
          Other PI/PDA/VD                                  domain, landlcrdAenant or                                 Case (non-tort/non-complex)
 Non-PHPD/WD (Other) Tort                                  foreclosure)                                        Other Civil Complaint
      Business Tort/Unfair Business              Unlawful Detainer                                                  (nort-lort/non-complex)
         Practice (07)                               Commercio! (-31)                                  Miscellaneous Civil Petition
     Civil Rights (e.g., discrimination               Residential 132)                                     Partnership and Corporote
         false arrest) (not civH                     Drugs (38) (if the case involves illegal                  Govomanco (21)
          harassment) (03)                                 drugs check this item; otherwise,               Other Petition f/»of specified
     Defamation (e.g.. slander, tibe')                     report as Corrmerci'al or Residential)              above) (43)
            (13)                                 Judicial Review                                               Civil Harassment
     Fraud (16)                                      Asset Forfeiture (05)                                     Workplace Violence
     Intellectual Property (IS)                      Petition Re: Arbitration Award (II)                       EldorrOepcndont Adult
     Professional Negligence 1251                    Writ of Mandate (02)                                           Abuse
         Legal Malpractice                                 Wiit-Adminisirat VO Mandamus                        Election Contest
         Other Professional Malpractice                    Wrtt-Mandamus on Limited Court                      Pebtion for Name Change
              (not medical or legal)                            Case Matter                                    Petition for Relief From Late
      Other Non-PI'PO/V./D Tort (351                       Writ-Other Limited Court Case                            Claim
 Employment                                                     Review                                         Other Civil Petition
     Wrongful Temtinalion (36)                       Other Judicial Review (39)
     Other Employment (15)                                 Review of Health Officer Order
                                                           Notice of Appeal-Labor
                                                     ______ Commisslonef Appeals
 CM-OlOiRev, Ji4yt,20071                                                                                                                 Page 2 of 2
                                                      CIVIL CASE COVER SHEET
Case 2:19-cv-03243-RSWL-MAA Document 1-1 Filed 04/24/19 Page 9 of 19 Page ID #:12




  SHORT TITVC                                                                                            CASi: NUMDCR
                David Vaccaro v. Collecto Inc. dba EOS CCA


                                CIVIL CASE COVER SHEET ADDENDUM AND
                                        STATEMENT OF LOCATION
                 (CERTIFICATE OF GROUNDS FOR ASSIGNMENT TO COURTHOUSE LOCATION)
                This form is required pursuant to Local Rule 2.3 in all new civil case filings in the Los Angeles Superior Court.



        Step 1: After completing the Civil Case Cover Sheet (Judicial Council form CM-010), find the exact case type in
                    Column A that corresponds to the case type indicated in the Civil Case Cover Sheet.


        Step 2: In Column B, check the box for the type of action that best describes the nature of the case.


       Step 3: In Column C, circle the number which explains the reason for the court filing location you have
               chosen.

                                            Applicable Reasons for Choosing Court Filing Location (Column C)

1. Class actions must be tiled in the Stanley Mosk Couithousc, Central District.        7. Location v.'hcre petitioner resides.
2. Permissive filing in central district.                                               8. Loealion v/heiein defenclant/respKXident functions wholly.

3 Location v/here cause of action arose.                                                9. Location ■/.'here one or more of the parties reside.

4 Mandatory personal injury filing in North District.                                  10. Location of Labor Commissioner Office.
                                                                                       11. Mandatory filing location (Hub Cases - unlawful detainer, limited
5 Location where pcrformaitce required or defendant resides.
                                                                                       non-collection, limited collection, ui personal injury)-
6 Location of property or permanently garaged vehicle.




                                 A                                                            B                                                          c
                     Civil Case Cover Sheet                                            Type of .Action                                        .Applicable Reasons -
                           Category No                                                (Check only one)                                          See Slep 3 Above

                             Auto (22)              □ A7100 Motor Vehicle - Personal Injury/Properly Damage/Wrongful Death                    1, 4.11
   £ ts
   3 O
   < ►-              Uninsured MotorisI (46)        D A71 ID Personal Injury/Property DamagerWrongful Death — Uninsured Molcrfst              1. 4.11


                                                    □ A6070 Asbestos Property Damage                                                          1, 11
                          Asbestos (04)
                                                    □ A7221 /tebestus - Peisona! Injury/Wrongful Death                                        1.11
   f?
   Q.
                      Product Liability f24)        □ A7260 product Liability (not asbestos or toxic/environmental)                           1.4. 11
    S £
         Q)
                                                                                                                                              1.4. 11
                                                    □ A7210 Medical Malpractice - Physicians 8 Surgeons
        £           Medical Malpructice (45)                                                                                                  1, 4. 11
   —     O)                                         O A7240 Other Professional Health Care Malpractice

   II
   o "55
                                                    □ A7250 FT’emises Liability (e.g.. slip and fall)                                         1.4, 11
   ^ o>                  Other Personal
                         Injury Property            □ A7230 Intentional Bodily Injury/Properly DamageA/Vrongful Death (e.g..                  1. 4.1 i
   ®     E
                        Damage Vt'ronafu!                   assault, vandalism, eta)
   5S                      Death (23)*
                                                                                                                                              1.4, 11
                                                    □ A7270 Irtont’ona! Infliction of Emotional Distress
                                                                                                                                              1.4, 11
                                                    □ A7220 Otlier Persona! Injury/Property Damage/VVrongfu! Death




  LACiV109 (Rev 2/16)                             CIVIL CASE COVER SHEET ADDENDUM                                                         Local Rule 2.3

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  SHORT TITLE.
                                                                                                   02C NUMOER
                 David Vaccaro v. Collecto Inc. dba EOS CCA

                                A                                                         B                                               C Applicable
                      Civil Case Cover Siieei                                       Type of Action                                     Reasons - See Step 3
                            Calfifjory No.                                         (Check only one)                                          Above

                        Business Tort (07}         □ A6029 Other Commerciat/BusinessTon (notfraud/breachof contract)                   1.2.3
          ■c
                         Civil Rights (08)         D A6005 Civil Right&Discriminafion                                                  1.2.3
    2—
    £ Q3                 Defamation (13)           □ A6010 Defamation (slander/libel)                                                  1.2,3

    t'a                     Fraud (16)             O At>013 Fraud ino contract)                                                        1.2,3
    1 2
    s •3                                           □ A6017 Legal Malpractice                                                           1.2.3
    b             Professional Negligence (25)
    £ S’                                           □ A6050 Other Professional Malpractice (no: medical or legal)                       1.2.3
    c £

                           other (35)              C3 A6025 Other Non-Personal (njury/Properly Damage tort

                   Wiongful Termiration (38)      □ A6037 Wrongful Termination                                                         1.2.3
      o

      5.                                          □ A6024 Other Employment Complaint Case                                             1.2,3
      2
      Q.             Other Employment (15)
      E                                           □ A6109 Labor Commissioner Appeals                                                  10
     UJ


                                                  □ A6004 Breach of RentalrLease Contract (rrot unlawful detainer or wrongful
                                                                                                                                      2,5
                                                          eviction}
                  Breach of Contract/Wairar^ty                                                                                        2.5
                              (06)                O A600B Conlract/Warranly Breach -Seller Plaintiff (no fraud/negligence)
                        (not insurance)                                                                                               1.2.5
                                                  □ A6010 Negligent Brcacn cf Coi^tractiWarranty (no fraud)
                                                                                                                                      1.2.5
                                                  □ A6028 Other Breach of ContractWarranty (not fraud or negligence)

      o
      s                                           □ A600P Collections Case-Seller Plaintiff                                           5. 6, 11
                        Colloc«iort3 (09)
     g
     u
                                                  O A6012 Other Promissory Note/Colteclions Case                                      5, 11
                                                  C A5034 Collections Case-Purchased Debt (Charged Off Consumer Debt                  5. 6. 11
                                                          Purchased on or after January 1.2014)
                   Insurance Coverage (18)        □ A6015 Insurance Coverage (not complex)                                            1.2. 5,8

                                                  □ A600S Cc. ttraclual Fraud                                                         1.2, 3.5
                      Other Contract (37)         □ A6031 Tonious Interference                                                        1.2. 3.5
                                                  □ A6027 Other- Conb-act Dispule{noi breach/insurance'fraud/negiigcnce)              1, 2. 3. 8. 9

                   Eminent Domain/Inverse
                                                  □ A7300 Eminent OomainiCondemnation                 Number of parcels.              2.6
                     Condemnafion (14)

                    Wrongful Eviclion (33)        O Ad023 Wrongful Eviction Case                                                      2.6
     2
     a.
     re                                           Q A601S Mortgage Foreclosure                                                        2.6
    q:
                   Other Rea! Property (25)       □ A6032 Ouiel lllle                                                                 2.6
                                                  C A6060 Other Rea! Property (not eminent domain, landlord/tenant, foreciosuie)     2.6

                 Unlawful Detainer-CommeiC'al
                             (31)                □ A6021 Un!av.-ful Detainer-Commercial (not drugs or wrongful eviction)             6,11
     b
    .£
    X2           Unlawful Detainer-Residential
                                                 □ A6020 Unlowful Detainer-Residential (not drugs or wrongful eviction)              6. 11
                                    132)
     3               UnlavLful Detainer-
    %                                            □ A6020FUnla\\'ful Detainer-Post-Foreclosure                                        2. 6,11
                    Post-Fonrclosure (34)

                 Unfawlul Oclainer-Orugs (38)    O AS022 Unlawful Dctaincf-E)Tugs                                                    2. 6. 11



 LACIV 109 (Rev 2/16)                            CIVIL CASE COVER SHEET ADDENDUM                                                   Local Rule 2.3
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  Slicm flTLC-
                                                                                                       CAW NUMBER
                  David Vaccaro v. Collecto Inc. dba EOS CCA

                                  A                                                           B                                     C Applicable
                      Civil Case Cover Snect                                            Typo of Action                           Reasons - See Step 3
                            Category No.                                               (Check only one)                                Above

                       Asset Forfeiture (05)           □ A6108 Asset Forfeiture Case                                            2. 3.6

          5          Petifion re Arbitration (11)      O A6115 Petition to Compel/ConfirmA/acate Arbitration                    2.5
          >
                                                      O A6151 WnT - Adminlstratp/o Mandamus                                     2.8
         :5            Writ of Mandate (C2)
         .a                                           □ A6152 Writ - Mandamus on Limited Court Case Matter                      2
         ■o
         ~3                                           □ A6153 Wnt - Other Limited Court Case Review                             2

                    Other Judicial Review (39)        □ A6t50 Other Writ/Judicial Review                                        2,8

                  Antitfust/Trade Regulation (03)     Q A6003 AntitnjsVTrade Regulation                                         1.2.8
         g
         ■■5
                     Construction Defect; 10)         □ A6007 Construction Defect                                               1.2.3

         so.       Claims Involving Mass Tori
                                m                     O A6006 Claims Involving Mass Tort                                        1.2,8
         E
         o
         u           Securities Litigation (281       Q A6035 Securites Litigation Case                                         1.2.8
         15
                           Toxic ~orl
         §             Environmental (30j             □ A6038 Toxic Tort/Cnvifonmental                                          1. 2. 3, 8
         .2
         I         Insurance Coverage Claims
        Q.           from Complex Case (41 >          □ A6014 Insurance Covcrage/Subrogation (complex case only)             1,2. 5.8


                                                     Q A6141 Sister State Judgment                                           2. 5,11
                                                     O A6160 Abstract of Judgment                                           2.6
    = c
    O)       (D
   E e                    Eiifoi cement              □ A6107 Confession of Judgment (non-domcstic relations)                2.9
   S ^                  of Judgment (20)
                                                     Q A6140 Administrative Agency Award (not unpaid faxes)                 2,8
   2 =
   uj     '8                                         □ A6114 Peiition/Corlificate for E.ntry of Judgment on Unpaid Tax      2.8
                                                     □ A6112 Other Enforcement of Judgment Case                             2.S.9

                            RICO (27)                u A6033 Racketeering (RICO) Case                                       1.2.8

   i^
    g .2                                             □ AC030 Occtsraiory Relief Only                                        1.2.8
   M E                                               □ AeOlO Injunctive Relief Only (not domestici'harassment)              2,8
   ■5 5                Other Complaints
                   (Not Specified Above) (42)
                                                     □ A6011 Other Commeraal Complaint Case (non-tart.'non-complex)         1.2.8
  1 u
                                                     □ A6000 Othisr Civil Complaint (norv-tort/non-complex)                 1.2.8

                    Partnership Corporation
                       Governance (21 ‘              □ AS113 Partnership and Corporate Governance Case                      2.8


                                                     O A6121 Cr/i Harassment                                                2, 3.9


   si Ii
                                                     □ A6123 Workplace Harassment                                           2. 3.9
                                                     □ A6124 Elder, Dependent Adult Abuse Case                              2.3.9
                      Other Petitions (Not
                     Specified Above) (43)           n A6190 Election Contest                                               2
  i8                                                 □ A6110 Petition for Change of Naine/Changc of Gender                  2,7
                                                     D A6170 Petition for Relief from Late Claim Law                        2. 3.8
                                                    □ A6100 Other Civil t^elilion
                                                                                                                           2.9




 LACfV 109 (Rev 2/1G)                               CIVIL CASE COVER SHEET ADDENDUM                                      Local Rule 2.3
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   SHORT TtTU;:
                                                                                           CASl: NUMBER
                  David Vaccaro v. Collecto Inc. dba EOS CCA


 Step 4. Statement of Reason and Address: Check the appropriate boxes for the numbers shown under Column C for the
             type of action that you have selected. Enter the address which is the basis for the filing location, including zip code.
             (No address required for class action cases).

                                                                      ADDRESS:
     REASON:
                                                                      2303 Ralston Lane
      :: 1. r 2. v:. 3... 4. !• 5. _ 6. " 7.    8.9. r, 10. : 11.


    CfTY;                                       STATE.   ZIP cooe
    Redondo Beach                               CA       90278

 Step 5. Certification of Assignment* l certify that this case is properly filed in the Central      ______________ District of
            the Superior Court of California, County of Los Angeles (Code Civ. Proc., §392 et seq., and Local/Rule 2.3(a)(1)(E)).




   Dated: March 28, 2019
                                                                                     (SIGNATURE OF AT rORNEY/Fl/jNQ PARTYI




  PLEASE HAVE THE FOLLOWING ITEMS COMPLETED AND READY TO BE FILED IN ORDER TO PROPERLY
  COMMENCE YOUR NEW COURT CASE:
       1. Original Complaint or Petition.

       2.   If filing a Complaint, a completed Summons form for issuance by the Clerk.
       3.   Civil Case Cover Sheet. Judicial Council form CM-010.

       ^                 Cover Sheet Addendum and Statement of Location form, LACtV 109. LASC Approved 03-04 (Rev.

       5.   Payment in full of the filing fi^e, unless there is court order for waiver, partial or scheduled payments.
       6.   A signed order appointing the Guardian ad Litem. Judicial Council form CIV-010, il the plaintiff or petitioner is a
            minor under 18 years of age will be required by Court in order to issue a summons.

       7.   Additional copies of documents to be conformed by the Clerk. Copies of the cover sheet and this addendum
            must be sert^ed along with the summons and complaint, or other initialing pleading in the case.




 LACIV109 (Rev 2/16}                           CIVIL CASE COVER SHEET ADDENDUM                                         Local Rule 2.3
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                                                                                         0EN'I6-Umited Jurisdiction PonoUPJ
                                                                                              FILED
                                                                                      Su^or Court orailftirBla
                                                                                        Couoljr of Los Angdes
      I
                                                                                            JUN 29 2016
     2
                                                                                  Sberri^Carter, E^Uve Omeer/Ciarh
     3                                                                             Br.        l/d.       ^ i)apatv
     4                           SUPERIOR COURT OF THE STATE OF CALIFORNIA
      5                                   FOR THE COUNTY OF LOS ANGELES
      6
          In re Limited Jurisdiction Civil Cases           )       GENERAL ORDER RE LIMITED
      7   Calendared in the Los Angeles County             )       JURISDICTION CIVIL PROCEDURES:
          Superior Court                                   )       NOTICE OF WEB PORTAL
      8

      9                                                    i       AVAILABILITY FOR INTERPRETER
                                                                   REQUESTS
                                                                   (Effective July 11,2016)
     10                                                    )
     11   TO EACH PARTY;                                              -4


     12           In order to expedite the availability of inteipreteis at hearings on limited jurisdiction civil cases,
     13   IT IS HEREBY ORDERED that each limited jurisdiction civil plamtiff shall, along with the complaint
     14   and other required documents, serve all named defendants with the Notice of the AvoilabiUty of Web
     15   Portalfor Interpreter Requests; this notice informs the litigants that the Los Angeles County Superior
     16   Court provides interpreter services in limited jurisdiction civil cases at no cost to parties with limited
     17   English proficiency and that Spanish language mteipreters are available in courtrooms where limited
     18   jurisdiction civil hearings are held. The notice will be provided to the plaintiff at the time the limited
     19   jurisdiction civil action is filed, if filed at the cleric*s office, end will also be posted on the Los Angeles
     20   Coun^ Superior Court internet website (http://www.IacourLorg/). Plaintiffs) must then indicate service
     21   of the Notice ofAvailability of Web Portalfor Interpreter Requests on line 2(f) of the Proof of Service
     22   of Summons form (POS-010).
     23           Effective immediately, this General Order is to remain in effect until otherwise ordered by the
     24   Presiding Judge.
     25

     26   DATED: June
     27
                                                               7    Presiding Judge
     28
                                                              1
                                       GENERAL ORDER - LIMITED JURISDICTION CIVIL PORTAL
Case 2:19-cv-03243-RSWL-MAA Document 1-1 Filed 04/24/19 Page 14 of 19 Page ID #:17


                                 Notice of AwatlabOitv of Umlted Civil Jurisdiction Web Portal for Interpreter Requests

 The los Angeles Superior Court provides Interpreter services at no cost to parties with limited English proficiency in Limited Civil Jurisdiction hearings.
 Spanish interpreters are available at all courthouse locations. Therefore, it Is not necessary to request a Spanish language interpreter in advance. If
 you require a Spanish interpreter, please let the courtroom staff know about your need on the day of your hearing. Limited English proficient
 Individuals who speak a language other than Spanish may request an interpreter in advance of their court hearing via the Court's Web Portal for
 Interpreter Requests (URL|. While the Court will make every effort to locate an interpreter for the date and time of your hearing, it cannot guarantee
 that one will be immediately available. If you have genera! questions about language access services, please contact us at
 laneuageAccesstSLACQURT.ore.

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                                                          languageAccess@lACourt.org

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LaneuaeeAcces5@LACouft.orc.

                           Aviso de disponibllidad del Portal web para Jurlsdiccion llmitada civil para solicitar interpretes

La corte superior de Los Angeles brinda servicios de Interprete sin cargo para audienclas de Jurisdicclon limitada civil a las partes que tienen
conocimientos limitados de ingles. Se dispone de interpretes de espahol en todos los juigados. Por lo tarito, no es necesario pedir un interprete de
espai^ol por adelantado. SI necesita un interprete de espahol, Informele al personal de la sala del juzgado e! dia de su audiencta. Los individuos con
conocimientos limitados de Ingles que hablan un Idioma que no sea el espahol pueden solicitar un interprete antes de la audiencla en la corte por
medio del Portal webde la corte para solicitar interpretes (URL|. La corte hare el mayor esfuerto poslble para programar un interprete para la
fecha y hora desu audiencla; sin embargo, no le podemos garantiiarde que haya uno disporrible en forma inmediata. Si tiene preguntas generates
sobre los servicios de acceso lingCilstico. envie un mensaje a LanRuageAccessfSLACourt.org.

                              Thong Qao v? Cong Web Tham Quyln H$ Si/ Gid^i H^n de Kin Cung Cffp Thong ORh Vlhn

Tda Thucmg Tham Los Angeles cung cap djch vg thdng dich vien mlin phi cho nh&ng bfin kien cd kha nang Anh NgO’ giol han trong nh&ng phiSn tda
CO tham quyen Hd Si/ Gidi Han. Cd sSn thing djch viSn tieng Tly Ban Nha tai tat ca cac tda. Do dd, khdng can phll xin cung cap thdng dlch vldn tiffng
TSy Ban Nha tru’dc. Neu quy vj can thong d|ch vi^n Hong Tay Ban Nha, xin cho nhSn vifin phbng xir bift ve nhu c5u cua quy vj vAo ngSy quy v| ra tda.
Ngudi c6 kha nSng Anh Ngir gidi han va rwi mpl ngdn ng& khong phai tieng Tay Ban Nha cd the .xin cung cap thdng djch vlen trucrc rtgdy cd phidn tda •
cua hp qua Cong Web ciia Tda cho Cic Yeu C5u Cung Cap Thdng Djch Vien (LIRL). Toy tda s6 n6 li/C de tim mdt thong djch vien cho ngey gid phien tda
cua quy vj, tda khdng th^ bio dam sg cd ngay. Neu quy vj cd thSc mSc tong quat v5 cac djch vy ngdn ngi?, xin lien lac vdl chung tdi lei
languageAccessiBlACOURT.ort.

                                                                                                                                      August 5,2016
Case 2:19-cv-03243-RSWL-MAA Document 1-1 Filed 04/24/19 Page 15 of 19 Page ID #:18


                                                                                               Roserved (or Clerk's File Stamp
           SUPERIOR COURT OF CALIFORNIA
              COUNTY OF LOS ANGELES
 COURTHOUSE ADDRESS:
                                                                                                         FILED
 Stanley Mosk Courthouse                                                                        Superior Court of Catifaroia
                                                                                                  Ckiunlyot los Angeles
 111 North Hill Street, Los Angeles, CA 90012
                                                                                                      03/28/2019
 PLAINTIFF(S):
                                                                                         ShcmR Car^ar.EAaOjyKcOficer/ OeAotCoui'
 David Vaccaro                                                                            By            Diana Oiaz
 DEFENDANT(S):

 COLLECTO INC. dba EOS CCA
                                                                                         CASE NUMBER:
       NOTICE OF CASE ASSIGNMENT - LIMITED CIVIL CASE
                                                                                         19STLC03058

 Case is assigned for all purposes to the judicial officer indicated below. Notice given to Plaintiff / Cross-Complainant /
 Attorney of Record on        03/2^/2019

                              ASSIGNED JUDGE                          DEPARTMENT                             ROOM
                              Wendy Chang

                                                               Sherri R. Carter, Executive Officer / Clerk of Court
                                                            By Diana Diaz______                       , Deputy Clerk

                                     Instructions for Handling Limited Civil Cases

 The following critical provisions, as applicable in the Los Angeles Superior Court are cited for your information.
 PRIORITY OVER OTHER RULES: The priority of Chapter Seven of the LASC Local Rules over other inconsistent
 Local Rules is set forth in Rule 7.2© thereof.
 CHALLENGE TO ASSIGNED JUDGE: To the extent set forth therein, Government Code section 68616(i) and Local
 Rule 2.5 control the timing of Code of Civil Procedure section 170.6 challenges.
 TIME STANDARDS: The time standards may be extended by the court only upon a showing of good cause.
 (Cal. Rules of Court, rule 3.110.) Failure to meet time standards may result in the imposition of sanctions.
 (Local Rule 3.37.)
 Except for collections cases pursuant to California Rules of Court, rule 3.740, cases assigned to the Individual
 Calendar Court will be subject to processing under the following time standards;
 COMPLAINTS: All complaints shall be served and the proof of service filed within 60 days after filing of the complaint.
 CROSS-COMPLAINTS: Without leave of court first being obtained, no cross-complaint may be filed by any party after
 their answer is filed. Cross-complaints against parties new to the action must be served and the proof of service filed
 within 30 days after the filing of the cross-complaint. A cross-complaint against a party who has already appeared in
 the action must be accompanied by proof of service of the cross-complaint at the time it is filed. (Code Civ. Proc., §
 428.50.)
 DEFAULTS (Local Rule 9.10): If a responsive pleading is not served within the time to respond and no extension of
 time has been granted, the plaintiff must file a Request for Entry of Default within 10 days after the time for service has
 elapsed. Failure to timely file the Request for Entry of Default may result in an Order to Show Cause being issued as
 to why sanctions should not be imposed. The plaintiff must request default judgment on the defaulting defendants
 within 40 days after entry of default.
 NOTICED MOTIONS. All regularly noticed motions will be calendared through the assigned department. Each motion
 date must be separately reserved and filed with appropriate fees for each motion. Motions for Summary Judgment
 must be identified at the time of reservations. All motions should be filed in the clerk’s office.
 EX PARTE MATTERS: All ex parte applications should be noticed for the courtroom.
 UNINSURED MOTORISTS CLAIMS: Delay Reduction Rules do not apply to uninsured motorist claims. The plaintiff
 must file a Notice of Designation with the Court identifying the case as an uninsured motorist claim under Insurance
 Code section 11580.2.


                                 NOTICE OF CASE ASSIGNMENT - LIMITED CIVIL CASE
 LACIV___ 001 (Rev. [03/17)
 LASC Approved 09-04
Case 2:19-cv-03243-RSWL-MAA Document 1-1 Filed 04/24/19 Page 16 of 19 Page ID #:19

                                                                                                                  2018>SJ-008-OC




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    2                                                                                           F^LED
                                                                                        Suportor Court of Catifomla
                                                                                          County of Lo3 Angotes
    3
    4
                                                                                             APR 18 2018
                                                                                 Sharrl B. eytar, Ejt^iire Officer/Clerk
    5                                                                             By.                            Deputy
                                                                                          ‘^SlephanJo Chung
    6
    7
    8                          SUPERIOR COURT OF THE STATE OF CALIFORNIA
    9                                    FOR THE COUNTY OF LOS ANGELES
   10
   II   In re Civil Limited Jurisdiction Cases                   ) FIRST AMENDED STANDING ORDER
   12   Calendared in Departnaent 94 (Non-Collection             ) (Effective as of April 23, 2018)
        Cases)                                                   )
   13
   14          TO EACH PARTY AND TO THE ATTORNEY OF RECORD FOR EACH PARTY:
   15          Pursuant to the California Code of Civil Procedure ("C.C.P.”), the California Rules of Court
   16   (“C.R.C.”), and the Los Angeles County Court Rules (“Local Rules”), the Los Angeles Superior
   17   Court (“LASC” or “Court”) HEREBY AMENDS AND SUPERSEDES THE JANUARY 12, 2018
   18   STANDING ORDER, AND THE COURT HEREBY ISSUES THE FOLLOWING STANDING
   19   ORDER THAT SHALL APPLY TO ALL LIMITED CIVIL (NON COLLECTION) CASES FILED
   20   AND/OR HEARD IN DEPARTMENT 94.
   21          1.        PLAINTIFF(S) IS/ARE ORDERED TO SERVE A COPY OF THIS STANDING
   22   ORDER ON THE DEFENDANT(S) WITH COPIES OF THE SUMMONS AND COMPLAINT
   23   AND TO FILE PROOF OF SERVICE. AS MANDATED IN THIS ORDER.
   24          2.       The Court sets the following trial date in this case in Department 94 (7* Floor, Room

   25   723) at the Stanley Mosk Courthouse, 111 North Hill Street, Los Angeles, CA 90012:
   26
                            TRIAL: Order to Show Cause Re: Failure to File Proof of Service: 04/01/2022
   27                              Non.JuryTrial:09/24/2020
                            Date:                                           at 8:30 a.m.
   28



                                                           1
                                             FIRST AMENDED STANDING ORIDER
                    CIVIL LIMITED JURISDICTION CASES CALENDARED IN DEPT. 94 (NON COLLECTION CASES)
Case 2:19-cv-03243-RSWL-MAA Document 1-1 Filed 04/24/19 Page 17 of 19 Page ID #:20

                                                                                                     2018-SJ-008-OC




     1                               SERVICE OF SUMMONS AND COMPLAINT
     2           3.        The trial date set forth above is conditioned on the defendant(s) being served with the
     3   summons and complaint within six          months of the filing of the complaint. The trial date may be
     4   continued to a later date if service is not accomplished within six months. The parties may stipulate
     5   to keep the original trial dale even if service of the summons and complaint is not completed within
     6   six months of the filing of the original complaint.
     7           4.        The summons and complaint shall be served upon the defendant(s) within three years
     8   after the complaint is filed in this action. (C.C.P., § 583.210, subd. (a).) Failure to comply will result
     9   in dismissal, without prejudice, of the action, as to all unserved parties who have not been dismissed
    10   as of that date. (C.C.P., § 581, subd. (g).) The dismissal without prejudice as to the unserved parties
    II   for this case shall be effective on the following date:
    12
    13                               UNSERVED PARTIES DISMISSAL DATE

    14
    15
    16
    17
    18           5.        No case management, mandatory settlement or final status conferences will be
    19   conducted in this case.
    20                                             LAW AND MOTION
    21           6.        All regularly noticed pretrial motions will be heard in Department 94 on Mondays,
    22   Tuesdays, Wednesdays, and Thursdays at 8:30 a.m. A motion will be heard only if a party reserves a

    23   hearing date by going to the court's website at www.lacourt.org and reserving it through the Court

    24   Reservation System (“CRS”) accessed via the “Divisions” tab at the topofthe webpage, in the

    25   “Civil” Division section. All motions should be filed at the filing window on the first floor of the

.   26   Stanley Mosk Courthouse and filed and served in accordance with C.C.P., § 1005, subd. (b), and all

    27   other relevant statutes.

    28   ///



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                                               FIRST AMENDED STANDING ORDER
                      CIVIL LIMITED JURISDICTION CASES CALENDARED IN DEPT. 94 (NON COLLECTION CASES)
Case 2:19-cv-03243-RSWL-MAA Document 1-1 Filed 04/24/19 Page 18 of 19 Page ID #:21

                                                                                                       2018*SJ-008*0(;




    1           7.        Tentative Rulings may be posted on the Court’s internet site no later than the day prior
    2   to the hearing. To access tentative rulings, parties may go to www.lacourt.org. select “Civil”
    3   Division from the Divisions” tab at the top of the webpage, then click on “Tentative Rulings,” and
    4   then type the case number in the box and click “Search.”
    5                                          EX PARTE APPLICATIONS
    6           8.        Ex parte applications must be noticed for I ’.30 p.m. in Department 94 and filed and
    7   served in accordance with C.R.C., Rules 3.1201-3.1207. All ex parte application fees must be paid
    8   by 1:00 p.m. at the filing window on the first floor of the Stanley Mosk Courthouse.
    9                                                   JURY FEES
   10           9.        The fees for jury trial shall be due no later than 365 calendar days after the filing of
   11   the initial complaint, or as otherwise provided by C.C.P., §631, subds. (b) and (c).
   12                                   STIPULATION TO CONTINUE TRIAL
   13           10.       A trial will be postponed if all attorneys of record and/or the parties who have
   14   appeared in the action stipulate in writing to a specific continued date. If the stipulation is filed less
   15   than five (5) court days before the scheduled trial date, then a courtesy copy of the stipulation must be
   16   filed in Department 94. A proposed order shall be lodged along with the stipulation. The Stipulation
   17   and Order should be filed in Room 118 of the Stanley Mosk Courthouse with the required filing fees.
   18                                                      TRIAL
   19           11.       Parties are to appear on the trial date ready to go to trial, and must meet and confer on
   20   all pretrial matters at least 20 calendar days before the trial date. On the date of trial, the parties shall
   21   bring with them to Department 94 a three-ring binder with a table of contents containing conformed
   22   copies of each of the following documents behind a separate tab.
   23                     1) Printed copies of the Current Operative Pleadings (including the operative
   24                        complaint; answer; cross-complaint, if any; and answer to cross-complaint);
                                                                                                                t
   25                     2) Motions in Limine, if any, which must be serv’ed and filed in accordance with the
                                                                                                                f

   26                        Local Rules, Rule 3.57;
   27                     3) Joint Statement of the Case (if a Juiy trial);
   28   in


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                                              FIRST AMENDED STANDING ORDER
                     CIVIL LIMITED JURISDICTION CASES CALENDARED IN DEPT. 94 (NON COLLECTION CASES)
Case 2:19-cv-03243-RSWL-MAA Document 1-1 Filed 04/24/19 Page 19 of 19 Page ID #:22

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      I                   4) Joint Witness List disclosing an ofTer of proof regarding the testimony of each
      2                       witness, the time expected for testimony of each witness; the total time expected
      3                       for all witnesses, and the need, if any, for an interpreter,
      4                   5) Joint Exhibit List;
      5                   6) Printed and Edited Joint Proposed Jury Instructions (if a jury trial), and
      6                   7) Printed Joint Proposed Verdict Form(s) (if a jury trial).
      7            The parties shall also bring a second binder containing the Joint Exhibits in an Exhibit Book
      8   numbered appropriately.
      9            FAILURE TO PROVIDE ANY OF THE AFOREMENTIONED DOCUMENTS ON
 -   !0   THE TRIAL DATE MAY CAUSE A DELAY IN THE CASE BEING ASSIGNED TO A
     II   TRIAL COURT.
     12            GOOD CAUSE APPEARING THEREFOR, IT IS ORDERED.
     13
     14
     15   Dated:               \€, 200
     16                                                           DEBRE K. WEINTRAUB
                                                                  Supervising Judge, Civil
     17                                                           Los Angeles Superior Court
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                                             FIRST AMENDED STANDING ORDER
                    CIVIL LIMITED JURISDICTION CASES CALENDARED IN DEPT. 94 (NON COLLECTION CASES)
